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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                                   NO. 4:06CR00205-01

TAREKE LEWIS

                                             ORDER

       Pending is Defendant’s motion for clarification of order denying motion to suppress.

(Docket # 64). A hearing was held on Defendant’s motion to suppress on February 29, 2008.

Following the hearing the Court entered an order denying Defendant’s motion. Thereafter,

Defendant filed the present motion asking for clarification concerning the suppression of

information contained on the North Little Rock Police Department arrest sheet, specifically, the

Defendant’s address.

       The Court finds that the March 3, 2008 Order denying Defendant’s motion to suppress

includes a denial of the Defendant’s oral motion to suppress the information on the arrest sheet

given to the Officers by the Defendant. “Requests for routine information such as name and

address, which is necessary for basic identification purposes, is not interrogation for purposes of

Miranda.” United States v. Jones, 266 F.3d 804, 812 (8th Cir. 2001) citing, United States v.

McLaughlin, 777 F.2d 388, 392-93 (8th Cir.1985).      Officer Abbot testified that he located the

Defendant’s ID card in the northwest bedroom of the residence before he questioned the

Defendant and the Defendant fled from the residence when the officers arrived to execute the

search warrant. Officer Abbot stated that he asked the Defendant his address when he questioned

the Defendant to which the Defendant answered “1008 E.” The Court finds the statement made
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by the Defendant was not the product of police interrogation, but was the type of routine

identification request that falls outside the reach of Miranda. At the time the Officer asked the

Defendant his address, the Officer had no reason to believe that the request would elicit an

incriminating response.

       Accordingly, the Defendant’s motion for clarification, docket # 64, is granted and the

Court’s March 3, 2008 Order is clarified to included a denial of Defendant’s oral motion to

suppress.

       IT IS SO ORDERED this 11th day of August, 2008.



                                                     ____________________________________
                                                     James M. Moody
                                                     United States District Judge
